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                      Exhibit I




    State of California ex rel. Ven A-Care of the Florida Keys, Inc. v.
          Abbott Labs, Inc. et al., Civil Action No. 03-11226-PBS

Exhibit to the November 25, 2009 Declaration of Christopher C. Palermo
     in Support of Mylan's Motion for Partial Summary Judgment
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                                                                                        Page 1
   1           IN THE UNITED STATES DISTRICT COURT FOR THE

   2                         DISTRICT OF MASSACHUSETTS

   3                      CIVIL ACTION NO. 03-CV-11865-PBS

   4      ------------------------------X

   5      THE COMMONWEALTH OF                           )

   6      MASSACHUSETTS,                                )            VIDEOTAPED

   7                          Plaintiff,                )     DEPOSITION UPON

   8                           v.                       )    ORAL EXAMINATION

   9      MYLAN LABORATORIES, INC.,                     )               OF

 10       et al.,                                       )       BRIAN ROMAN

 11                          Defendants.                )            30(b)(6)

 12       ------------------------------X

 13                            C O N F I D E N T I A L

 14                            FOR ATTORNEYS' EYES ONLY

 15                 T R A N S C R I P T            of the stenographic

 16       notes of G. DONAVICH, a Certified Shorthand

 17       Reporter and Notary Public of the State of

 18       Pennsylvania taken at the offices of AKF

 19       Reporters, Inc., Court Reporting & VideoTech

 20       Services, AKF Building, 436 Boulevard of the

 21       Allies, Pittsburgh, Pennsylvania, on Thursday,

 22       August 2, 2007, commencing at 9:14 a.m.



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                                                                                       Page 12
   1      legal officer again.

   2                      The additional responsibilities I

   3      picked up in that move include functioning as a

   4      general counsel for each of the operating

   5      companies in the Mylan Laboratories group.

   6                      Those other companies include Mylan

   7      Technologies, Incorporated; Mylan, Inc.; and UDL

   8      Laboratories, Incorporated.

   9                      So now in addition to functioning as a

 10       general counsel for Mylan Pharmaceuticals, I have

 11       that role for those other companies.

 12               Q.      And as general counsel of each of these

 13       corporations you're generally responsible for all

 14       of their legal affairs?

 15               A.      Yes.

 16               Q.      Okay.   Where is Mylan Laboratories

 17       located?

 18               A.      Mylan Laboratories' headquarters is

 19       just outside of Pittsburgh.               The address is 1500

 20       Corporate Drive, Canonsburg, Pennsylvania 15317.

 21               Q.      And Mylan Pharmaceuticals,

 22       Incorporated, where is that located?



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                                                                                       Page 13
   1              A.      Mylan Pharmaceuticals' headquarters and

   2      main facility is in Morgantown, West Virginia.

   3              Q.      I think you mentioned a UDL

   4      Laboratories, Incorporated.               Where is that

   5      headquartered?

   6              A.      Rockford, Illinois.

   7              Q.      And you mentioned, I believe it was,

   8      Mylan Technologies, Inc.             Where is that

   9      headquartered?

 10               A.      St. Albans, Vermont.

 11               Q.      Okay.   Have you ever testified

 12       previously on behalf of Mylan Laboratories or any

 13       of its subsidiaries?

 14               A.      Yes.

 15               Q.      If you would, would you take me through

 16       the various times you've testified on behalf of

 17       Mylan Laboratories or its subsidiaries and just

 18       relate for me whether it's a deposition or a

 19       trial and the case or matter that you were

 20       testifying in.

 21               A.      All of these are going to be

 22       depositions.        I've never testified live at a



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                                                                                       Page 44
   1      patch, but it's a fairly small product.

   2              Q.      And if we could, focusing on the kind

   3      of operational relationship between the various

   4      corporations, as I understand it, Mylan

   5      Laboratories, Incorporated, is a holding company.

   6      Is that correct?

   7              A.      Yes.    And by that, I mean it's the

   8      company that owns the stock of its operating

   9      subsidiaries.

 10               Q.      Okay.   And Mylan Pharmaceuticals,

 11       Incorporated, is an operating company.                   Is that

 12       right?

 13               A.      I've used that phrase, yes, and by that

 14       I mean the distinction in my mind, Mylan

 15       Laboratories doesn't make or sell drugs.                      They

 16       don't make or sell anything, really.

 17                       They have a number of employees, they

 18       have assets, it is a fully functioning

 19       corporation; but Mylan Pharmaceuticals actually

 20       has distribution facilities, a manufacturing

 21       plant, et cetera, so it's the company that

 22       actually does the R & D work, obtains the FDA



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                                                                                       Page 45
   1      approvals for our drugs, makes the drugs, and

   2      sells them.

   3              Q.      And is it fair, is it accurate, to say

   4      that Mylan Pharmaceuticals generates the vast

   5      majority of the revenues of Mylan Laboratories,

   6      Incorporated?

   7              A.      Over a period of time, yes, Mylan

   8      Pharmaceuticals -- revenues from operations from

   9      Mylan Pharmaceuticals make up most of the

 10       revenues that Mylan Laboratories reports.

 11               Q.      And UDL Laboratories, that continues to

 12       operate as an operating company?

 13               A.      Yes.

 14               Q.      And it's essentially a repackager?

 15               A.      Essentially, yes.

 16               Q.      I think you mentioned Mylan

 17       Technologies at one point.             What is Mylan

 18       Technologies?

 19               A.      Mylan Technologies, Inc., is a company

 20       that is focused on the development and

 21       manufacturer of transdermal drug products, drug

 22       patches that you wear on the skin.



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